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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF ARKANSAS
                                  WESTERN DIVISION

UNITED STATES OF AMERICA

V.                                     No. 4:06-cr-412-2 JM

ELIAS ESTRADA

                                               ORDER

       Pending before the Court is Defendant’s motion for early termination of his supervised

release (Docket No. 332). Defendant was sentenced on December 19, 2007 to 150 months of

imprisonment and five years of supervised release for conspiracy to distribute more than five

kilograms of methamphetamine. Pursuant to 18 U.S.C. §3583(e)(1), the Court may terminate the

term of supervised release after the expiration of one year of supervision if it is satisfied that

such an action is warranted by the conduct of the offender and is in the interest of justice.

Defendant has maintained stable employment and shown responsibility and commitment to his

family during his time of supervision. The United States has filed a response stating that it has

no objection to the early termination, and the Court finds it to be in the interest of justice to grant

Defendant’s motion.

       Defendant’s motion for early termination of supervised release (Docket No. 332) is

GRANTED.

       IT IS SO ORDERED this 8th day of April, 2016.



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                                                     James M. Moody Jr.
                                                     United States District Judge
